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 NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 ALASKA ELECTRICAL PENSION                      :
 FUND, et al.,                                  :
                                                :
                Plaintiffs,                     :       Civil No. 03-1519 (AET)
                                                :
                v.                              :       MEMORANDUM AND ORDER
                                                :
 PHARMACIA CORPORATION, et al.                  :
                                                :
                Defendants.                     :
                                                :

 THOMPSON, U.S.D.J.

                                        INTRODUCTION

        This matter comes before the Court on behalf of Defendants Pharmacia Corporation

 (“Pharmacia”), Pfizer, Inc., Fred Hassan, Dr. G. Steven Geis, and Carrie Cox’s (collectively,

 “Defendants”) Motion for Summary Judgment [145]. The Court has decided this motion based

 upon the submissions and oral arguments of the parties on September 12, 2007. For the reasons

 stated below, Defendants’ motion is granted.

                                        BACKGROUND

 A.     Procedural Background

        This case arises from Defendants’ effort to remove the standard gastrointestinal (“GI”)

 warning on the label of the drug Celebrex. On April 7, 2003, Plaintiffs filed a complaint alleging

 that Defendants violated Sections 10(b) and 20(a) of the Securities Exchange Act of 1934, and

 Rule 10b-5 promulgated thereunder, by misrepresenting the results of a clinical study of


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 Celebrex. On January 25, 2007, the Court certified a class consisting of purchasers of Pharmacia

 common stock during the period of April 17, 2000 to February 6, 2001. On May 31, 2007,

 Defendants filed a Motion for Summary Judgment claiming that Plaintiffs’ complaint is time-

 barred.

 B.         Factual Background

            From approximately September 1998 to March 2000, Pharmacia commissioned a clinical

 study of Celebrex entitled, The Celecoxib Long-Term Arthritis Safety Study (“CLASS”), to

 support an application to the Food and Drug Administration (“FDA”), that sought to remove the

 standard GI warning from its label. (See Declaration of William A. Dreier (“Dreier Decl.”), Ex.

 2 at 1247.)

            On approximately June 12, 2000, Pharmacia submitted all of the data from CLASS to the

 FDA to support its application. (Dreier Decl., Ex. 11.) In addition, Pharmacia included

 “Briefing Documents,” setting forth its own analysis of the data from CLASS, and

 recommending that the FDA analyze only results from the first six months of the study (“six-

 month analysis”), rather than the results from the entire thirteen-month study. (Dreier Decl., Ex.

 13 at 1; id., Ex. 14 at 1.)

            On September 13, 2000, the results of CLASS were published in the Journal of the

 American Medical Association (“JAMA”). (Id., Ex. 1 ¶ 45; id., Ex. 2.) However, only the

 results from the six-month analysis were published in the JAMA article, results that were

 favorable to Pharmacia. (Id., Ex. 2 at 1253-54.) Moreover, it was Defendants who supplied

 JAMA with information on CLASS, and thus, were largely responsible for the contents of the

 article.


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        On February 6, 2001, the FDA posted the Briefing Documents submitted by Pharmacia to

 its website. The FDA also posted reports (“FDA Staff Reports”) by two medical officers and a

 statistician. These reports analyzed the CLASS data from the entire thirteen-month study

 submitted to the FDA. See http://www.fda.gov/ohrms/dockets/ac/01/briefing/3677b1.htm (last

 visited Oct. 25, 2007). On February 7, 2001, both the Briefing Documents and FDA Staff

 Reports were available to the public on the FDA website. Id. The reports concluded that using

 data from only the first six months, as opposed to the entire thirteen-month study, was “not

 valid” and “not convincing,” and opined that “the most critically relevant analysis covers the

 complete study period.” (Dreier Decl., Ex. 15 at 8-9; id., Ex. 13 at 14, 24.)

        On February 7, 2001, an advisory committee, comprising FDA-appointed independent

 experts (“Arthritis Advisory Committee”), held a public hearing to consider Pharmacia’s request

 to remove or modify the standard GI warning from the Celebrex label. (Dreier Decl., Ex. 21.)

 The Arthritis Advisory Committee recommended that the standard GI warning remain. (Id.) The

 decision and impact of the hearing were widely reported in analyst reports and the media on, and

 after, February 7, 2001.

        On August 5, 2001, the Washington Post published an article stating that Defendants had

 deceived JAMA into publishing an article containing incomplete data. (Dreier Decl., Ex. 44.)

 The article stated that Defendants did not provide JAMA with any of the negative post-six-month

 CLASS data. (Id.)

                                        APPLICABLE LAW

 A.     Standard for Summary Judgment

        A party seeking summary judgment must “show that there is no genuine issue as to any


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 material fact and that the moving party is entitled to judgment as a matter of law.” Fed. R. Civ.

 P. 56 (c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Orson, Inc. v. Miramax

 Film Corp., 79 F.3d 1358, 1366 (3d Cir. 1996).

         In deciding whether there is a disputed issue of material fact, the Court must view the

 underlying facts and draw all reasonable inferences in favor of the nonmoving party. Matsushita

 Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Pennsylvania Coal Ass'n

 v. Babbitt, 63 F.3d 231, 236 (3d Cir. 1995); Hancock Indus. v. Schaeffer, 811 F.2d 225, 231 (3d

 Cir. 1987). The threshold inquiry is whether there are “any genuine factual issues that properly

 can be resolved only by a finder of fact because they may reasonably be resolved in favor of

 either party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986) (noting that no issue

 for trial exists unless there is sufficient evidence favoring the nonmoving party for a jury to

 return a verdict in its favor).

         In deciding whether triable issues of fact exist, Rule 56(e) of the Federal Rules of Civil

 Procedure provides, in relevant part:

             When a motion for summary judgment is made and supported as provided in
             this rule, an adverse party may not rest upon the mere allegations or denials of
             the adverse party's pleading, but the adverse party's response, by affidavits or
             as otherwise provided in this rule, must set forth specific facts showing that
             there is a genuine issue for trial. If the adverse party does not so respond,
             summary judgment, if appropriate, shall be entered against the adverse party.


 Fed. R. Civ. P. 56(e). The rule does not increase or decrease a party's ultimate burden of proof

 on a claim. Rather, “the determination of whether a given factual dispute requires submission to

 a jury must be guided by the substantive evidentiary standards that apply to the case.” Anderson,

 477 U.S. at 255.


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        The nonmoving party must “go beyond the pleadings and by [its] own affidavits, or by the

 ‘depositions, answers to interrogatories, and admissions on file,’ designate ‘specific facts

 showing that there is a genuine issue for trial.’” Celotex, 477 U.S. at 324; see also Lujan v.

 National Wildlife Fed., 497 U.S. 871, 888 (1990) (“[T]he object of [Rule 56(e) ] is not to replace

 conclusory allegations of the complaint . . . with conclusory allegations of an affidavit”);

 Anderson, 477 U.S. at 249; Big Apple BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d 1358, 1363

 (3d Cir. 1992) (“to raise a genuine issue of material fact . . . the [nonmoving party] need not

 match, item for item, each piece of evidence proffered by the movant,” but rather must exceed

 the ‘mere scintilla’ threshold”), cert. denied, 507 U.S. 912 (1993).

 B.     Statute of Limitations and the Standard for Inquiry Notice

        A claim for securities fraud under Sections 10(b) and 20(a) of the Exchange Act must be

 brought no later than the earlier of “(1) two years after the discovery of the facts constituting the

 violation, or (2) five years after such violation.” 28 U.S.C. § 1658(b). The triggering of the “two

 years after discovery of the facts” prong is based on an inquiry notice standard. In this case, the

 “two year after the discovery of the facts” prong of the statute is controlling, as inquiry notice

 under both parties’ arguments would be found before the alternate five-year limitation.

        Inquiry notice is found “whenever circumstances exist that would lead a reasonable

 investor of ordinary intelligence, through the exercise of reasonable diligence, to discover his or

 her injury.” Matthews v. Kidder, Peabody & Co., 260 F.3d 239, 251 (3d Cir. 2001). It is not

 necessary for a plaintiff to have “actual knowledge or know all of the details of the alleged fraud

 to trigger the [running of the] limitations period.” In re Merck & Co. Sec., Deriv & “ERISA”

 Litig., MDL No. 1658, C.A. Nos. 05-1151, 2007 WL 1100820, at *10 (D.N.J. Apr. 12, 2007)


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 (citing In re NAHC, Inc. Sec. Litig., 306 F.3d 1314, 1325 (3d Cir. 2002)).

        To determine inquiry notice, the Court looks to see if plaintiffs had sufficient information

 to excite “storm warnings” of culpable activity. “Storm warnings” include “the accumulation of

 information over a period of time that conflicts with representations that were made when the

 securities were originally purchased, or any financial, legal, or other data that would alert a

 reasonable person to the probability that misleading statements or significant omissions had been

 made.” In re NAHC, 306 F.3d at 1326 n.5. The existence of “storm warnings” is an objective

 inquiry. Matthews, 260 F.3d at 252 (“Plaintiffs need not be aware of the suspicious

 circumstances or understand their import. It is enough that a reasonable investor of ordinary

 intelligence would have discovered the information and recognized it as a storm warning”).

 Plaintiffs need not know all of the details or narrow aspects of the alleged fraud to trigger the

 limitations period; instead, the period begins to run from the “time at which plaintiff should have

 discovered the general fraudulent scheme.” In re Prudential Ins. Co. of Am. Sales Practices

 Litig., 975 F. Supp. 584, 599 (D.N.J. 1997).

        The defendants bear the initial burden of showing the existence of storm warnings.

 Matthews, 260 F.3d at 252. Once storm warnings rise to inquiry notice and trigger the statute of

 limitations, plaintiffs must investigate the basis for their claims. In re NAHC, 306 F.3d at 1326.

 If a defendant succeeds in establishing inquiry notice, the “burden shifts to the plaintiffs to

 demonstrate that they were unable to discover their injuries despite the exercise of reasonable due

 diligence.” In re Merck, 2007 WL 1100820, at *10. If a plaintiff’s claims are time-barred under

 the inquiry notice standard, then summary judgment in favor of the defendant is appropriate. See

 Matthews, 260 F.3d at 250.


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                                           DISCUSSION

        Defendants argue that Plaintiffs were on inquiry notice no later than February 7, 2001.

 Therefore, since Plaintiffs’ complaint was filed on April 7, 2003, it is time-barred under the two-

 year statute of limitations set forth in 28 U.S.C. § 1658(b). In support, Defendants assert that the

 February 7, 2001 postings of the Briefing Documents and the FDA Staff Reports on the FDA

 website, the Arthritis Advisory Committee public hearing, and widespread media and financial

 analyst coverage of these materials and proceedings, constituted “storm warnings” that placed

 Plaintiffs on inquiry notice of Defendants’ alleged misrepresentations.

        The Briefing Documents published on the FDA website, presented several analyses of the

 CLASS data, including: (1) an analysis as specified in the original study protocol, that is, based

 upon data from the entire study period and the original primary endpoint, and (2) an alternative

 analysis based upon six-months of data favored by Pharmacia. (Dreier Decl., Ex. 12.) However,

 the FDA Staff Reports posted on the FDA’s website on February 7, 2001, disagreed with the

 alternative analysis set forth in the Briefing Documents, and opined that “the most critically

 relevant analyses covers the complete study period as specified in the original protocol.” (Dreier

 Decl., Ex. 15; id., Ex. 13.)

        Further, the Arthritis Advisory Committee hearing on February 7, 2001, reiterated that the

 complete study period was the proper analysis, and recommended that the standard GI warning

 remain on the Celebrex label. (Dreier Decl., Ex. 22 at 1.) Moreover, the information on the

 FDA website, and the Arthritis Advisory Committee’s decision was widely reported in analyst

 reports and the media. By way of example, but not exhaustive, analysts and media reported as




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 follows1:

        •       February 6, 2001, Bloomberg News article entitled “Pharmacia Hasn’t Shown
                Celebrex Safety Benefit, FDA Review Says”

                        Only by looking at selected parts of the data - a practice discouraged by the
                        agency - was the company able to show a benefit, the reviewers said.
                        (Dreier Decl., Ex. 17.)

        •       February 7, 2001, Star-Ledger article entitled “Firms Await FDA Word on 2 Rival
                Painkillers”

                        FDA documents released yesterday in advance of the [advisory committee]
                        meeting showed an agency review of Celebrex found the drug isn’t
                        significantly less likely to cause stomach problems than the older, cheaper
                        painkillers. (Dreier Decl., Ex. 20.)

        •       February 7, 2001, J.P. Morgan Analyst Report, entitled “FDA Review of Celebrex
                More Negative Than Expected - Panel Could be Controversial”

                        The four main issues raised by the FDA are: (1) Pharmacia’s analysis of
                        data at only the 26-week time point, rather than the 52-week time point, is


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                  See also February 6, 2001, Reuters News Service, “Celecoxib did not demonstrate
 statistically superiority to NSAIDS . . . at any point in the trial.” (Dreier Decl., Ex. 18.); February
 8, 2001, Chicago Tribune article entitled “Tests Fail to Show Celebrex Drug Safer Than Rivals,”
 (“committee members said they saw no edge for Celebrex over treatments such as ibuprofen
 when comparing rates of the most serious ulcers.”) (Id., Ex. 23.); February 7, 2001, Reuters
 News Service, “There is no clinically meaningful safety advantage in upper (gastrointestinal)
 safety.” (Id., Ex. 25.); February 8, 2001, Washington Post, “There’s no proof that-much
 promoted arthritis drug Celebrex is gentler on the stomach than older, cheaper painkillers, the
 government’s scientific advisors decided.” (Id., Ex. 27.); February 8, 2001, Orlando Sentinel
 article entitled “Celebrex Fails to Impress.” (Id., Ex. 29.); February 8, 2001, Milwaukee Journal
 Sentinel, “the ruling was a blow to manufacturer Pharmacia Corp., which had hoped the advisors
 would recommend that the [FDA] quit requiring that Celebrex bear a warning that users risk
 ulcers.” (Id., Ex. 30.); February 8, 2001, Asbury Park Press article entitled “FDA Disputes
 Arthritis Drug Claim.” (Id., Ex. 31.); February 8, 2001, CBS Marketwatch.com, “a panel found
 that Pharmacia couldn’t show that Celebrex cause fewer gastrointestinal side effects than pain
 relievers of another class of treatments.” (Id., Ex. 32.); February 9, 2001, CNBC Market Week
 With Maria Bartiromo, “Pharmacia was really beaten back this week by a setback from the FDA
 on a labeling issue.” (Id.., Ex. 35.); February 9, 2001, Pittsburgh Post-Gazette article entitled
 “FDA Rules Against Vioxx, Celebrex Labels.” (Id., Ex. 36.); February 9, 2001, Salt Lake
 Tribune article entitled “FDA Says Celebrex Not Easier On Stomach.” (Id., Ex. 37.)

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                        unjustified and invalid (and the data is even less robust at 52 weeks)
                        (Dreier Decl., Ex. 16.)

        •       February 7, 2001, Philadelphia Inquirer article entitled “FDA Report Questions
                Claims about Celebrex Painkiller”

                        A Food and Drug Administration advisory report said Pharmacia Corp.
                        had not shown that its Celebrex painkiller was less likely to cause stomach
                        bleeding than the older treatments . . . [t]he FDA review of a trial of
                        Celebrex could mean problems for Pharmacia today when it asks and FDA
                        advisory panel to endorse claims that the drug is safer than traditional
                        painkillers. (Dreier Decl., Ex. 19.)

        In contrast, Plaintiffs argue that the statute of limitations period does not begin to run

 until plaintiffs have notice that the defendants acted with the requisite scienter. (Pls.’ Opp’n. 21.)

 Plaintiffs assert that requisite scienter was not shown until August 5, 2001, when the Washington

 Post article was published. Therefore, Plaintiffs claim that they were not on inquiry notice until

 August 5, 2001. Under Plaintiffs’ theory, their complaint was filed well within the two-year

 statute of limitations. However, the Court finds this argument untenable. Inquiry notice exists

 when Plaintiffs discovered, or in the exercise of reasonable diligence, should have discovered the

 general fraudulent scheme. In re NAHC, 306 F.3d at 1326. Plaintiffs need not have discovered

 the precise profile of the alleged fraud, nor been prepared to draft a complaint for a lawsuit at the

 time inquiry notice arises. Id. at 1327. So long as sufficient “storm warnings” are on the

 horizon, inquiry notice may be found to exist.

        Additionally, Plaintiffs argue that “[D]efendants’ public, reassuring statements justifying

 the six-month analysis prevented plaintiffs from being put on inquiry notice.” (Pls.’ Opp’n. 28.)

 However, the Court is not persuaded that assurances from Defendants in the months before and

 after the publication of the Briefing Documents, the FDA Staff Reports, and the Arthritis

 Advisory Committee public hearing, counterbalanced and offset the storm warnings. Although

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  reassurances given by a company may dissipate storm warnings, an investor may not reasonably

  rely on words of comfort from management “when there are direct contradictions between the

  defendants’ representations and the other materials available to plaintiffs regarding the possibility

  of fraud.” In re Exxon Mobile Corp. Sec. Litig., 387 F.Supp.2d 407, 418 (D.N.J. 2005).

          The Court determines that there were sufficient “storm warnings” no later than February

  9, 2001, to place Plaintiffs on inquiry notice. A reasonable investor would have discovered this

  public, company-specific information, and recognized it as storm warnings. The February 7,

  2001 publications of the Briefing Documents, the FDA Staff Reports on the FDA website, the

  FDA Arthritis Advisory Committee public hearing, and the media and financial analyst coverage

  of these materials and proceedings, constituted storm warnings sufficient to place Plaintiffs on

  inquiry notice of their claims.

          Plaintiffs’ complaint is time-barred as it was brought on April 7, 2003, more than two

  years after Plaintiffs were on inquiry notice. Therefore, Defendants’ Motion for Summary

  Judgment is granted.

                                            CONCLUSION

          For the reasons given above, and for good cause shown,

          It is on this 29th day of October 2007,

          ORDERED that Defendants’ Motion for Summary Judgment [145] is GRANTED; and it

  is further

          ORDERED that Plaintiffs’ Motion to Seal [150] is DENIED as moot; and it is further

          ORDERED that Plaintiffs’ Motion to Strike [151] is DENIED as moot; and it is further

          ORDERED that Defendants’ Motion to Seal [155] is DENIED as moot; and it is further


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            ORDERED that Defendants’ Motion to Strike [156] is DENIED as moot; and it is further

            ORDERED that Defendants’ Cross-Motion to Strike [157] is DENIED as moot; and it is

  further

            ORDERED that Plaintiffs’ Motion to Seal [162] is DENIED as moot; and it is further

            ORDERED that Defendants’ Motion to Seal [166] is DENIED as moot; and it is further

            ORDERED that Plaintiffs’ Motion to Seal [168] is DENIED as moot; and it is further

            ORDERED that Plaintiffs’ Motion for Leave to Appear Pro Hac Vice [174] is DENIED

  as moot; and it is further

            ORDERED that this case is closed.




                                                          s/ Anne E. Thompson
                                                       ANNE E. THOMPSON, U.S.D.J.




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